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                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                    Exhibit 1
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A Fourth Alabama Player Was at
a Deadly Shooting, in a Car Hit
by Bullets
The presence of a fourth Crimson Tide player at the
deadly shooting in January has come to light as the team
begins its run as the top overall seed in the N.C.A.A. men’s
tournament.

      15mcbb-alabama-wkvt




     A row of Alabama players in practice gear lined up near a sideline shooting 3-pointers as
fans watch.
Alabama players during a practice session on Wednesday in Birmingham, Ala., ahead
of their ﬁrst-round N.C.A.A. tournament game scheduled for Thursday. Alex Slitz/Getty
Images




By Billy Witz
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BIRMINGHAM, Ala. — A fatal January shooting that involved members of
the top-ranked Alabama men’s basketball team, which has loomed over the
Crimson Tide as they chase a national championship, could have been
even more deadly, as surveillance video showed that two players were in a
car struck by bullets in the crossﬁre.

The shootout, which sent people nearby scrambling for cover, killed Jamea
Harris, 23, who was a passenger in a car. In another car that was struck
were Brandon Miller, a star player for the Crimson Tide, and Kai Spears, a
freshman walk-on whose presence at the scene had not been previously
reported.

Including Spears, at least four Alabama players have now been placed at
the scene of the shooting that took place in the early morning hours of Jan.
15, as bars emptied out along The Strip, a popular gathering spot for
students near campus along University Boulevard in Tuscaloosa.

Darius Miles, a now-former Alabama basketball player, is in Tuscaloosa
County Jail on capital murder charges. He is accused of handing his gun to
Michael Davis, a childhood friend, who is also facing capital murder
charges and has been accused of ﬁring the bullet that killed Harris. Miles
and Davis were indicted by a grand jury last week. A lawyer for Davis said
that Davis had been acting in self-defense, while a lawyer for Miles said in
a statement that evidence not seen by the grand jury showed that Miles
was innocent.
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      15mcbb-alabama-pgtk




     Darius Miles wearing a No. 2 Alabama jersey. shooting a 3-pointer as a crowd of fans
watches behind him.
Darius Miles during a game in December. A lawyer for Miles said in a statement that
evidence not seen by the grand jury showed that Miles, who is facing capital murder
charges, is innocent. Brandon Sumrall/Getty Images


Jaden Bradley, a freshman guard, was also at the scene. A review of
surveillance video showed his car was in a narrow lane that intersects
University Boulevard, parked ahead of Miller and Spears. Behind Miller
and Spears was a Jeep with Harris in the front passenger seat.

The video showed Davis approaching the Jeep from behind, along the
driver’s side. Soon, ﬂashes from gunshots could be seen entering and
exiting the Jeep. After several shots were exchanged, Davis appeared to
have been hit and staggered backward into a telephone pole. He regained
his balance and circled in front of Bradley’s car while continuing to ﬁre at
the Jeep. Two bullets struck the windshield of Miller’s car. Neither struck
Miller or Spears.

“I’m sorry, I’m not going to be able to speak about that,” said Spears, a
freshman who has not played this season and who is the son of Marshall
University’s athletic director, Christian Spears. Kai Spears brieﬂy spoke
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Wednesday in the locker room Alabama was using for practice ahead of its
ﬁrst-round N.C.A.A. tournament game against Texas A&M-Corpus Christi
on Thursday. Miller also declined to comment.

In its aftermath, the school has sought to distance itself from the shooting.
Miles was dismissed from the team and kicked out of school within hours of
his arrest, and the involvement of other players — of which the school was
aware — was kept quiet as the Crimson Tide established themselves as the
toast of the Southeastern Conference and one of the best teams in the
country.

Alabama athletic ofﬁcials did not immediately respond to messages
seeking comment on Wednesday.

On Feb. 21, a police detective testiﬁed at a pretrial hearing about the
presence of Miller and Bradley at the scene. He said that Miles had texted
Miller, telling him to pick him up and that “I need my joint,” referring to
Miles’s gun, which he had left in the back seat of Miller’s car.

The detective also made note of an unidentiﬁed passenger in Miller’s car. A
person familiar with the case identiﬁed that person as Spears. That person
spoke on condition of anonymity to discuss sensitive matters in the case.

In the last several weeks, Alabama has been criticized for continuing to
play Miller, a decision that   Athletic Director Greg Byrne told ESPN had
been made in conjunction with the university’s president, Stuart R. Bell.
Initially, Alabama Coach Nate Oats characterized Miller’s involvement as
“wrong spot at the wrong time” before apologizing for that description.

Another apology ensued when Miller continued what had been a ritual
during introductions at home games: holding his arms out while a
teammate patted him down, as if he were being searched for a weapon.
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      15mcbb-alabama-kftb




     Brandon Miller holding a basketball and looking to shoot during a practice session.
Brandon Miller is one of the Crimson Tide’s best players and a top N.B.A. prospect.
Kevin C. Cox/Getty Images


Miller, a 6-foot-8 forward who will likely be among the top picks in the
N.B.A. draft, has become a lightning rod since his presence during the
shooting became public. He has played exceedingly well, scoring 41 points
— including the winning basket — in an overtime win at South Carolina in
his ﬁrst game after the pretrial hearing. And Miller was awarded the SEC
tournament’s most outstanding player award after Alabama won the title
on Sunday in Nashville, near where he grew up.

He has excelled despite being heckled with chants of “lock him up” by
South Carolina fans and “Brandon Killer” by Vanderbilt fans during the
conference tournament.

Miller arrived at a news conference on Wednesday accompanied by an
armed guard.

“If you guys saw some of what I’ve seen sent his way, I think you would
understand why that’s the case,” said Oats, who indicated that Miller had
received anonymous email threats, but declined to elaborate.
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A pair of Alabama fans showed up to the Southeastern Conference
tournament semiﬁnals on Saturday wearing customized T-shirts that
turned heads — and a few stomachs.

On the back, the shirts read: “Killin' our way through the SEC in ’23.”


      15mcbb-alabama-mlhq




     A fan wearing a T-shirt, the back of which says “Killin’ our way through the SEC in ’23.”
A fan wearing a T-shirt referencing the shooting during the Southeastern Conference
tournament. John Amis/Associated Press

The T-shirt was deemed in such poor taste that the SEC said that any fans
wearing it would be prohibited from entering the arena for Sunday’s
championship game. A conference spokesman said afterward that security
ofﬁcials had not spotted spot anyone wearing the T-shirts.

“It’s meant to make you think,” said the man, who identiﬁed himself as
Jimmy Johnson, from Mobile, Ala., as he stood in the concourse just after
halftime on Saturday. The man, whose real name is Jason O’Rear, hung up
without answering questions on Wednesday when he was contacted by the
Times.
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Last week he called the shooting a tragedy but said that Oats and Miller
were being unfairly attacked, using an expletive. “The media is going to
cancel Miller,” he said. “Now, I don’t condone anything about what
happened, but I know where the media is going to come crashing down and
try to ruin a guy’s career. I know where the clicks are.”

He was asked if he would feel differently if his daughter had been killed.

“I don’t know,” he said.

In Tuscaloosa, most of the bars along The Strip have been closed this week
and the campus is all but vacant as most students have left town for spring
break. Few who remain seem willing to discuss the shooting or the
university’s response to it.

“Jamea Harris should be living her life and raising her son,” said Walt
Maddox, the mayor of Tuscaloosa. “Her murder, as with every senseless act
of violence, weighs on all of us. Our words are inadequate to provide
comfort to her family; however, our actions matter to ensure justice.”

But in a surveillance video, when Davis hobbles toward a parking lot —
after ﬁring at least eight bullets and taking one in the shoulder — Bradley,
the freshman from Rochester, N.Y., peels out and turns onto University
Avenue.

As Miller follows after them, the Jeep, with the mortally wounded Harris,
sideswipes Miller and Spears, one bullet-riddled car screaming past
another in a tragedy that could have been even worse.


Susan C. Beachy contributed research.
